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11

12                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                        OAKLAND DIVISION
14
     ELON MUSK et al.,                                     Case No. 4:24-cv-04722-YGR
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                   Plaintiffs,
16                                                         DEFENDANTS MICROSOFT
            v.                                             CORPORATION, REID HOFFMAN,
17                                                         AND DEANNAH TEMPLETON’S
     SAMUEL ALTMAN, et al.,                                MEMORANDUM IN OPPOSITION
18                                                         TO PLAINTIFFS’ MOTION FOR A
                           Defendants.                     PRELIMINARY INJUNCTION
19
                                                           Date:        January 14, 2025
20                                                         Time:        2:00 p.m.
                                                           Place:       Courtroom 1 (4th Floor)
21                                                                      1301 Clay St.
                                                                        Oakland, CA 94612
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 1                                      ISSUES TO BE DECIDED

 2          Pursuant to Local Civil Rule 7-4(a)(3), Defendants Microsoft, Hoffman, and Templeton

 3   identify the following issues to be decided:

 4          1. Have Plaintiffs established a likelihood of success on the merits of the (a) Sherman Act

 5              Section 1 claim or (b) the Clayton Act Section 8 claim when there was no agreement

 6              not to invest (Sherman Act Section 1), there is no board interlock (Clayton Act Section

 7              8), there is no antitrust injury, and Mr. Musk lacks antitrust standing?

 8          2. Are Plaintiffs likely to suffer irreparable harm in the absence of preliminary relief when

 9              they rely on speculative, unsupported assertions of harm?
10          3. Do the balance of equities tip in Plaintiffs’ favor and is a preliminary injunction in the

11              public interest when the requested injunction would harm Microsoft’s customers and

12              the public by jeopardizing access to the software and services on which they rely?

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 1   I.     INTRODUCTION

 2          Microsoft is committed to an innovative, responsible, and competitive AI ecosystem that

 3   supports opportunities not only for Microsoft and OpenAI, but also for X.AI and other AI start-ups.

 4   The allegations at the heart of Plaintiffs’ Motion for Preliminary Injunction ring hollow, and the PI

 5   Motion should be denied.

 6          Along with other technology providers, Microsoft plays an important role in supporting

 7   today’s growing AI ecosystem. It builds supercomputers needed to train generative AI (“GenAI”)

 8   models like OpenAI’s GPT-4. It develops leading GenAI applications like Copilot that empower

 9   people and organizations to achieve more. It supports dozens of GenAI developers like Meta,

10   Mistral.AI, Cohere, and others by making their models available on its Azure cloud computing

11   platform. And it provides developers with tools and other services that are essential for responsible,

12   safe, and secure GenAI application development. Ensuring choice in GenAI models is critical for

13   Microsoft’s cloud computing business.

14          Microsoft’s partnership with OpenAI has helped spur an entire industry. Large technology

15   companies have responded with their own massive investments to create competing software and

16   services, such as Gemini Agent (Google), LLaMa (Meta), and Bedrock (Amazon). And startups—

17   including Anthropic, Mistral.AI, and Plaintiff X.AI—have raised enormous amounts of investment

18   capital to bring exciting new innovations to market, like Grok (X.AI). Since 2023, close to $50

19   billion has been invested in GenAI startups, with $10B in new investment capital raised just since

20   October 2024. This swell of investment has led to leapfrogging advances in AI models and a

21   constant stream of innovative new GenAI services, as well as a vibrant, ongoing debate about

22   ensuring its trustworthy, safe, and ethical use.

23          Plaintiffs ignore this reality. They push the fallacy that OpenAI and Microsoft operate as

24   one to make this thriving marketplace less competitive. But Microsoft and OpenAI are independent

25   companies that each pursue their own strategies and compete vigorously with each other and many

26   others. Their research and development (“R&D”) partnership advances GenAI development:

27   Microsoft provides investment capital and groundbreaking, highly customized supercomputers for

28   OpenAI to train its GenAI models and, in return, OpenAI licenses its models as an input into
                                               -1-
     DEFENDANTS MICROSOFT CORPORATION, REID HOFFMAN, AND DEANNAH TEMPLETON’S MEM.
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 1   Microsoft’s software and services. So, while Microsoft and OpenAI collaborate on R&D, they

 2   compete to commercialize those innovations. This type of collaboration by competitors—and

 3   competition by collaborators—is common because it benefits consumers. For instance, Tesla (led

 4   by Plaintiff Musk) partners with two of its primary competitors, General Motors and Ford, to build

 5   a common charging network throughout the United States to encourage electric vehicle adoption.

 6   Similarly, Microsoft’s partnership with OpenAI has fueled innovation between them and others,

 7   launching one of the most promising waves of new technology in a generation.

 8          Despite this, Plaintiffs bring their PI Motion under four claims in their First Amended

 9   Complaint (“FAC”). Two of those claims include Microsoft as a Defendant: (1) a Sherman Act
10   Section 1 antitrust claim alleging an agreement between Microsoft and OpenAI not to fund

11   OpenAI’s competitors; and (2) a Clayton Act Section 8 claim based on purported anticompetitive

12   Board interlocks (or overlaps), which is the only claim involving Defendants Hoffman and

13   Templeton.1 The extraordinary remedy Plaintiffs seek would harm countless innocent third-party

14   customers of Microsoft and their customers. For this, the PI Motion rests solely on the threadbare

15   allegations in the FAC and a single attorney declaration. Plaintiffs provide no witness declarations,

16   no expert reports, and no admissible evidence. Based on the well-established four-part test for

17   preliminary injunctive relief, their sweeping request should be denied.

18          First, Plaintiffs have not and cannot show they are likely to succeed on the merits because:

19   (a) there is no agreement in violation of the Sherman Act; (b) there is no board interlock in
20   violation of the Clayton Act; and (c) there is no antitrust injury, negating both claims. Additionally,

21   Plaintiff Musk (the only individual plaintiff for the two claims against Microsoft) lacks the

22   necessary antitrust standing because he is only an individual investor in and director of X.AI.

23          No agreement (Sherman Act). Plaintiffs offer zero evidence that Microsoft has entered any

24   agreement with OpenAI, or anyone else, to limit investment in any competitors as part of

25   participating in OpenAI’s latest round of funding. This is not surprising since no such agreement

26   1
      Plaintiffs do not direct the two state law claims at Microsoft, Hoffman, or Templeton and cannot
27   support any relief as to those defendants (though Microsoft, Hoffman, and Templeton join
     OpenAI’s discussion of why those claims also do not support a preliminary injunction).
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 1    exists. Microsoft was never asked to prohibit, never agreed to prohibit, never itself tried to

 2    prohibit, and has no interest in prohibiting, investments in competitors of OpenAI. Without

 3    evidence of an agreement, Plaintiffs’ Sherman Act claim fails. Further, any such (non-existent)

 4    agreement would require proof of anticompetitive effects under the Rule of Reason because it

 5    would not be the type of horizontal agreement that is per se unlawful. Plaintiffs have not come

 6    close to clearing this high bar.

 7           No board interlock (Clayton Act). Plaintiffs’ claim that Microsoft and OpenAI share

 8    interlocking board members is also demonstrably false. Mr. Hoffman and Ms. Templeton had

 9    roles with the OpenAI Board that were entirely appropriate, transparent, and consistent with
10    Section 8’s rules and exemptions. Mr. Hoffman, a Microsoft director who also was involved with

11    OpenAI since its inception, stepped down from OpenAI’s Board immediately after OpenAI began

12    commercializing its groundbreaking ChatGPT chatbot. Ms. Templeton, who was neither a

13    Microsoft director nor officer at the time, was merely a non-voting observer to OpenAI’s Board

14    for seven months. She stepped out of the only four Board meetings she attended when the topics

15    turned to OpenAI’s commercialization efforts. And when she resigned from that role, Microsoft

16    relinquished its right to reappoint anyone else to that position. Because there is no current board

17    interlock and no possibility of a future interlock, injunctive relief is inappropriate.

18           No antitrust injury (both claims). Further, Plaintiffs have not established antitrust injury.

19    Plaintiffs have shown neither harm to themselves nor harm to competition. To the contrary, X.AI
20    is thriving. Two months ago, X.AI finished building one of the largest supercomputers in the

21    world—in just over 120 days. Last month, after the alleged agreement that is claimed to have

22    limited investment opportunities, X.AI raised $6 billion in equity from 97 investors, bringing its

23    current valuation to $50 billion. Plaintiffs cannot credibly claim harm. And Mr. Musk, as an

24    individual, lacks antitrust standing.

25           Second, Plaintiffs have not shown a threat of irreparable injury. The Ninth Circuit is clear

26    that “speculative injury does not constitute irreparable injury.” Colorado River Indian Tribes v.

27    Town of Parker, 776 F.2d 846, 849 (9th Cir. 1985). But Plaintiffs’ alleged injury for both claims

28    is speculative. There are no concrete facts supporting their allegations that: (a) X.AI and other
                                                    -3-
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 1    unnamed safety-focused startups will lose funding at a pivotal moment, despite the massive sums

 2    currently being raised by X.AI and others; (b) OpenAI or Microsoft will obtain an “unfair

 3    advantage” through unspecified and unexplained information exchanges; (c) future investments

 4    in OpenAI would be difficult to unwind if it accepts additional investors; and (d) assets could be

 5    diverted. Additionally, Plaintiffs’ Section 8 claim fails to demonstrate imminent harm because it

 6    could and should have been brought long ago.

 7           Third, the balance of hardships and the public interest weigh heavily against Plaintiffs.

 8    The charitable trust claim, though not directed at Microsoft, seeks relief that would cause

 9    substantial harm to Microsoft’s customers and the public. Microsoft incorporates access to
10    OpenAI’s models in its Azure OpenAI services and various consumer and business Microsoft

11    Copilot offerings, including Microsoft 365 Copilot and GitHub Copilot. Any interruption to the

12    technology Microsoft receives under its R&D collaboration with OpenAI would cause substantial

13    disruptions to the millions of third-party developers, business customers, and consumers who rely

14    on those services. Worse, because some of OpenAI’s version updates address bugs, safety, or other

15    critical features, Microsoft’s customers—including the customers of its customers—could be

16    exposed to security vulnerabilities and the risk of harmful content if unable to obtain future

17    updates. Plaintiffs’ exceedingly thin evidentiary showing cannot offset the substantial harm an

18    injunction would cause to the many third parties not before the Court.

19           Plaintiffs’ PI Motion ignores these and other market realities. It lacks merit, fails to meet
20    the exacting standards for a preliminary injunction, and would impose significant harm on third

21    parties. It should be denied.

22    II.   STATEMENT OF FACTS
23          A.      GenAI Technology.
24           GenAI is a branch of artificial intelligence that generates new content, e.g., text, images,

25    sound, and music, by inferring patterns from existing data and then using those patterns to produce

26    original outputs. This technology includes language or other foundation models (“models”), which

27    are built using advanced neural networks trained on vast amounts of data to generate human-like

28    responses to natural language queries. Training these models requires immense computational
                                                   -4-
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 1    power, often relying on supercomputers or large-scale cloud computing resources to handle the

 2    extensive data processing involved. See Deannah Templeton Decl. ¶ 6.

 3          B.     Microsoft’s R&D Collaboration with OpenAI Launches GenAI Innovation.
 4           OpenAI was an early mover in GenAI research. However, it lacked funding and the

 5    massive computing power necessary to pursue that research. In 2019, Microsoft and OpenAI

 6    embarked upon a strategic partnership whereby Microsoft provided funding to OpenAI and agreed

 7    to build massive, highly customized supercomputers for OpenAI to develop and train its models.

 8    In return, OpenAI agreed to share those models with Microsoft so that Microsoft could create

 9    software and services incorporating access to OpenAI’s technology. See Templeton Decl. ¶ 7.
10           This collaboration launched a wave of innovation in GenAI R&D and resulted in OpenAI’s

11    creation of the GPT-3 model in 2020. In November 2022, OpenAI released ChatGPT, a chatbot

12    based on an improved version of the GPT-3 model. OpenAI made ChatGPT available for free to

13    the public, allowing users to interact with the model. In January 2023, Microsoft invested an

14    additional $10 billion in OpenAI to continue their R&D effort. See Templeton Decl. ¶ 8.

15          C.     As a Result of the R&D Collaboration, Microsoft Began Offering Software
                   and Services that Incorporate Access to OpenAI’s GenAI Models.
16

17           Starting before the launch of ChatGPT, Microsoft began providing software and services

18    incorporating access to OpenAI’s GenAI technologies. These products initially incorporated

19    access to OpenAI’s licensed GPT-3 model and subsequently an enhanced GPT-4 model. For
20    instance, in June 2022, Microsoft released GitHub Copilot, a GenAI-powered tool that helps

21    developers write and edit software code with real-time suggestions. See Yina Arenas Decl. ¶ 10.

22    In January 2023, Microsoft announced that it was making OpenAI’s models available on Azure

23    for use by third-party developers to build their own GenAI-powered software. See id. Through

24    this Microsoft service called Azure OpenAI, a third-party developer can incorporate one of

25    OpenAI’s models into its own AI applications. Today, thousands of organizations subscribe to

26    and use the Azure OpenAI service. See id. ¶ 16.

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 1           Since then, Microsoft’s Copilot line of GenAI-powered services has expanded, and now

 2    includes services used by consumers and businesses for marketing, coding, business development,

 3    and information search purposes. See id. ¶ 11. This includes Microsoft 365 Copilot, which

 4    provides GenAI-powered functionality for its popular productivity apps and services and Copilot

 5    Studio, which helps build custom software agents. See id. Today, thousands of businesses—and

 6    their many employees—use Microsoft 365 Copilot. See id. ¶ 16.

 7          D.      OpenAI Began Offering Software and Services Powered by GenAI, After
                    Which Mr. Hoffman Resigned from the OpenAI Board.
 8

 9           Microsoft was not alone in its commercialization efforts. OpenAI seized on the opportunity
10    to provide software and services that also incorporated access to the technology resulting from the

11    R&D collaboration. After its initial free version of ChatGPT, OpenAI launched its first

12    subscription plan for ChatGPT in February 2023, which offered enhanced access and features for

13    a monthly fee.2 See https://openai.com/index/chatgpt-plus/. OpenAI also has released other GenAI

14    offerings, including: (a) DALL-E, a model that generates images from text descriptions; (b)

15    Whisper, an automatic speech recognition system that converts spoken language into text; and (c)

16    advanced versions of the OpenAI API, a service that competes with Microsoft’s Azure OpenAI

17    by allowing third party developers to integrate models into their own AI applications. See

18    https://openai.com/api/pricing/.

19           By commercializing their R&D, OpenAI and Microsoft transformed what started as a two-
20    way vertical supply agreement into a competitor collaboration. Today, the companies compete by

21    each offering their own GenAI-powered software and services to customers. At the same time, the

22    companies collaborate, with Microsoft providing cutting-edge supercomputers and related

23    infrastructure for OpenAI’s R&D to create continued innovations in GenAI models in return for

24    OpenAI licensing its models to Microsoft. See Templeton Decl. ¶ 9.

25           In March 2023, one month after OpenAI began selling ChatGPT, Defendant Reid Hoffman

26    stepped down from OpenAI’s Board. See Reid Hoffman Decl. ¶ 5. Mr. Hoffman, who co-founded

27
      2
       OpenAI had earlier launched the OpenAI API for developers, but to much less fanfare than
28    ChatGPT.
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 1    LinkedIn, had joined Microsoft’s Board as an Independent Director in March 2017. See Hoffman

 2    Decl. ¶ 3. A year later, Mr. Hoffman, who was involved with OpenAI since the beginning, also

 3    joined the OpenAI Board in his individual capacity. See id. at ¶ 4. During the time he served on

 4    both boards, Mr. Hoffman had no role or responsibility at Microsoft relating to GenAI or any other

 5    operational issues. See id. at ¶ 3.

 6          E.      Many Other Companies, Including Plaintiff X.AI, Also Began Creating
                    GenAI Models and Offering Software and Services Incorporating Those
 7                  Models.
 8            Microsoft and OpenAI not only compete with each other. Large companies such as

 9    Amazon, Google, Meta, and Oracle have made significant investments to create their own GenAI
10    models, host models developed by others, and market software and services. For instance, in June

11    2023, Amazon announced a $100 million investment to build and deploy GenAI solutions in

12    Amazon Web Services and has since reported significant boosts in revenue directly tied to these

13    products. See Declaration of Howard Ullman Ex. G. Alphabet (Google) has similarly stated that

14    the company’s “A.I. infrastructure and generative AI solutions for cloud customers [in 2024] have

15    already generated billions in revenues and are being used by more than 2 million developers.” See

16    Ullman Decl. Ex. I. To this same end, Meta is investing $10 billion in its largest data center to

17    date, designed to process vast amounts of data to support AI workloads. See id. Ex. J. And Oracle

18    now offers its enterprise customers a suite of GenAI services that integrate with essential business

19    applications. See id. Ex M.
20            Big Tech is not alone in investing in GenAI. Newer startups, such as Anthropic and

21    Mistral.AI, have also developed their own GenAI models, tools, and platform services. In fact,

22    investment in GenAI startups this year is on track to exceed the 2023 total of $23 billion. See

23    Ullman Decl. Ex. L. Plaintiff X.AI is one such entrant. Mr. Musk announced the launch of X.AI

24    in July 2023. See id. Ex H. Four months later, X.AI unveiled “Grok,” a GenAI agent integrated

25    with the popular social media platform X. See id. And X.AI has grown at a remarkable pace since.

26    For example, X.AI recently built its “Colossus” supercomputer, one of the largest in the world, in

27    just over 120 days. “Colossus” is specifically designed for training language models and other

28    advanced GenAI applications. See id. Ex K.
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 1          F.      Microsoft Had, For a Limited Time, an OpenAI Board Non-Voting Observer.

 2           In November 2023, Sam Altman, the Chief Executive Officer at OpenAI, was fired and

 3    reinstated days later. Mr. Hoffman played no role in Mr. Altman’s reinstatement. See Hoffman

 4    Decl. ¶ 7. After those series of events and given the importance of the ongoing R&D collaboration

 5    to Microsoft’s business, Microsoft and OpenAI agreed that Deannah Templeton would serve as a

 6    non-voting observer to the OpenAI Board. See Templeton Decl. ¶ 11. At the time, Ms. Templeton

 7    was neither a director nor an officer of Microsoft. See id. at ¶¶ 2-3.

 8       During her seven-months as a non-voting board observer, Ms. Templeton served with

 9    appropriate protections. She attended limited portions of only four OpenAI Board meetings. See

10    id. at ¶ 13. She did not attend a fifth meeting entirely—at OpenAI’s request and to ensure, among

11    other things, that she did not receive any sensitive information regarding OpenAI’s

12    commercialization efforts. See id. at ¶ 14. In July 2024, Ms. Templeton stepped down from her

13    observer role. See id. at ¶ 15. At the same time, Microsoft informed OpenAI that it was

14    relinquishing its right to have an OpenAI Board non-voting observer. See id.

15          G.      Microsoft Supports a Vibrant and Competitive GenAI Ecosystem.

16           Microsoft has historically supported a broad, competitive, and vibrant GenAI ecosystem.

17    In addition to its R&D collaboration with OpenAI and deployment of Microsoft software and

18    services incorporating access to OpenAI’s models, Microsoft makes available a wide array of

19    GenAI models from different providers. See Arenas Decl. ¶ 5. On its Azure cloud computing

20    platform, Microsoft hosts models from OpenAI, Meta, Mistral.AI, Cohere, Microsoft, and others.

21    See id. In addition, Microsoft makes available a catalog of 1,800 other models, mostly from

22    Hugging Face—a platform with a wide variety of open GenAI models. See id. These models from

23    Microsoft, Meta, Cohere, Mistral.AI, and Hugging Face compete with OpenAI, providing a wide

24    array of choices to the many developers that use Azure AI to build their own GenAI applications,

25    products, and services. See id.; FAC ¶ 216. Microsoft further supports this vibrant AI ecosystem

26    by offering developers tools and services that can be used in developing applications with these

27    non-OpenAI models. See Arenas Decl. at ¶ 6.

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 1             In addition to supporting a competitive GenAI ecosystem, Microsoft is deeply committed

 2    to implementing robust security measures, ensuring data privacy, promoting transparency in

 3    GenAI operations, and providing tools for fairness and accountability. To this end, Microsoft’s

 4    Azure AI platform offers tools and services to help developers ensure privacy, security, and safety

 5    in the GenAI applications they are developing. See Arenas Decl. ¶¶ 4.

 6          H.       OpenAI’s October 2024 Funding Round.
 7             In October 2024, OpenAI completed its most recent funding round, raising $6.6 billion.

 8    See Ullman Decl. Ex. E. Microsoft was one of the participants in that funding round. See id. The

 9    investment round was intended to support OpenAI’s ongoing R&D efforts, expand its GenAI
10    capabilities, and accelerate the deployment of its technologies across various industries. See id.

11    Ex. D.

12             In conjunction with that funding round, Microsoft was neither asked nor agreed to prohibit

13    investments in OpenAI’s competitors, and Microsoft never attempted to prohibit any such

14    investments. See Michael Wetter Decl. ¶¶ 6-8. And because Microsoft is committed to a robust

15    and competitive GenAI ecosystem, Microsoft has no interest in prohibiting investments in

16    competitors to OpenAI. See id. at ¶ 9. Thus, even if Microsoft had been asked to make an exclusive

17    investment—and it was not—it would not have agreed. See id.

18          I.       GenAI Funding Continues to Be Widely Available to Other GenAI Startups,
                     including X.AI.
19
20             Today, the GenAI ecosystem is booming. There are numerous sources of capital, including

21    for X.AI. Venture capital and private equity firms, sovereign wealth funds, family offices, and

22    individual investors are increasingly investing in GenAI. Moreover, large technology developers

23    like Google, Amazon, and Meta have their own substantial capital and do not need third-party

24    resources. See Ullman Decl. Ex. F.

25             Indeed, the industry has continued to experience rapid growth in the two months since

26    OpenAI’s October 2024 funding round. In November 2024, shortly before filing its PI Motion,

27    X.AI raised more than $6 billion in new capital from 97 investors. See id. Ex. A. Those investors

28    included three of the largest venture capital and investment funds: Sequoia Capital, Andreesen
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 1    Horowitz, and the Qatar Investment Authority. See id. Ex. C. The investment round valued X.AI

 2    at $50 billion, more than doubling its earlier $24 billion valuation. See id. Ex. B. Remarkably,

 3    X.AI achieved this valuation after only 16 months, compared to the nine years it took OpenAI to

 4    reach that same milestone. See id. Ex. C. The investment pool was so saturated that X.AI limited

 5    the round to only investors who had previously backed X.AI. See Ullman Decl. Ex. B.

 6    III.   LEGAL STANDARD
 7            A preliminary injunction is an extraordinary and drastic remedy rarely granted. See Munaf

 8    v. Geren, 553 U.S. 674, 689-90 (2008); see also Epic Games, Inc. v. Apple Inc., 493 F. Supp. 3d

 9    817, 826 (N.D. Cal. 2020) (similar).
10            A plaintiff seeking a preliminary injunction must establish (1) “that he is likely to succeed

11    on the merits,” (2) “that he is likely to suffer irreparable harm in the absence of preliminary relief,”

12    (3) “that the balance of equities tips in his favor,” and (4) “that an injunction is in the public interest.”

13    Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Plaintiffs bear the burden of

14    meeting all the Winter prongs. A strong showing on the merits factor can offset a weaker showing

15    on the balance of hardships factor, or vice versa, so long as a plaintiff establishes all four factors.

16    See Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). But if the plaintiff

17    shows only “serious questions” as to the merits, he must show that the balance of hardships tips

18    sharply in his favor. See Epic, 493 F. Supp. 3d at 832.

19            Prohibitory injunctions preserve the status quo by freezing the parties’ positions until the
20    court can hear the case on the merits, while mandatory injunctions require a party to alter the status

21    quo and take action. See Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d

22    873, 878-79 (9th Cir. 2009). A mandatory injunction “goes well beyond simply maintaining the

23    status quo [p]endente lite [and] is particularly disfavored.” Id. at 879; see also Stanley v. Univ.

24    of S. California, 13 F.3d 1313, 1320 (9th Cir. 1994) (same). The burden to obtain a mandatory

25    injunction is thus “doubly demanding.” Garcia v. Google, 786 F.3d 733, 740 (9th Cir. 2015) (en

26    banc). A court must deny a mandatory injunction unless “the law and facts clearly favor” the

27    moving party. Id. (emphasis in original).

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 1           Plaintiffs’ requested injunction is wide reaching and vague. To the extent they seek to

 2    impose any affirmative duties on Microsoft that constitutes a change from the status quo ante,

 3    Plaintiffs must satisfy the even higher standard applied to mandatory injunctions. Because they

 4    cannot meet the prohibitory injunction standard, they certainly cannot meet that higher standard.

 5    IV.   ARGUMENT
 6          A.      Plaintiffs’ Have No Likelihood of Succeeding on their Antitrust Claims.
 7                  1.     Plaintiffs’ Section 1 claim against Microsoft relating to an alleged
                           “fund no competitors” arrangement is baseless.
 8

 9           Microsoft never agreed to avoid funding OpenAI’s competitors or agreed that other
10    investors would do so—full stop. Not as part of the latest round of OpenAI funding, nor at any

11    other time.

12           In the absence of any agreement, Plaintiffs have no likelihood of success on the claim

13    against Microsoft. That should end the analysis. But Plaintiffs’ Sherman Act argument is also

14    simply wrong. For one, any such agreement between OpenAI and Microsoft would be vertical in

15    nature and thus not subject to the per se rule. And Plaintiffs have completely failed to establish

16    that they are likely to succeed under the Rule of Reason on a facially implausible theory, based on

17    undefined relevant markets and unsupported by any evidence. Contrary to the PI Motion’s alleged

18    harm, there is ample evidence that investment capital continues to flow into X.AI and others in

19    the dynamic and fast-growing GenAI space.
20                         (a)     There is no agreement.
21           Section 1 of the Sherman Act, 15 U.S.C. § 1, requires proof of a contract, combination, or

22    conspiracy in restraint of trade that injures competition. See Kendall v. Visa USA, Inc., 518 F.3d

23    1042, 1047 (9th Cir. 2008). Plaintiffs argue in conclusory fashion that Microsoft and OpenAI have

24    agreed that Microsoft would not also invest in OpenAI’s competitors. See PI Motion at 5-6. But

25    there is no such agreement. Neither the FAC nor the PI Motion contains any allegation of an

26    agreement involving Microsoft, let alone evidence.

27           And for good reason. The accompanying declaration of Michael Wetter, who was deeply

28    involved in Microsoft’s participation in OpenAI’s October 2024 funding round, makes clear that
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 1    Microsoft never agreed to any investment exclusivity with or with respect to OpenAI. See Wetter

 2    Decl. ¶ 10. Not only that, but Microsoft never even discussed the possibility of Microsoft’s

 3    exclusivity with OpenAI or anyone else. See id. ¶ 6. Nor did Microsoft discuss or agree to other

 4    investors’ exclusivity. See id. ¶¶ 7-8. And if it had been requested to do so, Microsoft would have

 5    declined. See id. ¶ 9. Which makes sense because Microsoft—a company that both provides

 6    developers access to GenAI models and uses GenAI models in its own services—has long

 7    supported a robust and diversified GenAI technology ecosystem. See supra at 8. Plaintiffs’

 8    suggestion of a GenAI investment exclusivity agreement is implausible if not fanciful.

 9           Plaintiffs present no direct evidence of a purported agreement. See Honey Bum, LLC v.
10    Fashion Nova, Inc., 63 F.4th 813, 822 (9th Cir. 2023). The PI Motion relies on vague statements

11    by unnamed sources in media reports that do not suggest any agreement. The first is a Financial

12    Times article that states that at some point OpenAI requested that investors invest in OpenAI on

13    an exclusive basis. See FAC ¶ 201. A Reuters report similarly describes an OpenAI request for

14    investment exclusivity, noting that the request was “not legally binding.” See Toberoff Decl. Ex.

15    8, at 2. A Wall Street Journal article is similar. See Toberoff Decl. Ex. 9. Similarly, the FAC

16    merely claims that unnamed investors declined to invest in X.AI and does not allege any

17    involvement by Microsoft. See FAC ¶ 227.

18           These articles and allegations fall far short of showing an actionable agreement. Even at

19    the pleading stage, a plaintiff is obliged to provide more than mere labels, conclusions, and a
20    formulaic recitation of the elements of a cause of action. See Kendall, 518 F.3d at 1046, citing

21    Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). “[T]o allege an agreement between

22    antitrust co-conspirators, the complaint must allege facts such as a ‘specific time, place, or person

23    involved in the alleged conspiracies’….” Kendall, 518 F.3d at 1047 (citation omitted). But, here,

24    seeking a preliminary injunction, Plaintiffs must meet a far higher standard. Plaintiffs’ proffered

25    articles are devoid of even the most basic detail—they do not indicate who purportedly agreed

26    with whom, when, where, or how, and they do not specify the actual terms of any agreement.

27    They rely for their purported conclusory information on unnamed sources. And they certainly do

28    not establish or even suggest any agreement involving Microsoft.
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 1           The articles are also hearsay.3 Although a trial court has discretion to give hearsay evidence

 2    some weight in ruling on a request for preliminary injunction when there is also other admissible

 3    evidence, see The Republic of the Philippines v. Marcos, 862 F.2d 1355, 1363 (9th Cir. 1988) (en

 4    banc), here there is no other evidence, much less admissible evidence, of the purported agreement.

 5    Microsoft does not have the burden here, but its concrete and definitive counterevidence rebuts

 6    Plaintiffs’ empty suggestions of some inchoate agreement and suffices to demonstrate that

 7    Plaintiffs are unlikely to succeed on their Section 1 claim.

 8           Nor is there any indirect evidence of a conspiracy. See Honey Bum, 63 F.4th at 823.

 9    Plaintiffs’ suggestion of parallel behavior (PI Motion at 7) falls far short of establishing an
10    agreement. See id. at 822 (conscious parallelism insufficient); Twombly, 550 U.S. at 554 (“The

11    courts are nearly unanimous in saying that mere interdependent parallelism does not establish” an

12    agreement under Section 1) (citation omitted). And Plaintiffs’ speculation about parallelism is

13    inconsistent with the affirmative evidence that there was no agreement, as well as Microsoft’s

14    commitment to a diversified supply chain for GenAI technology. See supra at 8.

15                          (b)     Plaintiffs cannot invoke the per se rule and do not even attempt
                                    to make any showing under the Rule of Reason.
16

17           Under no circumstances is Plaintiffs’ Section 1 claim subject to the per se rule. Most

18    restraints are evaluated under the Rule of Reason. Only a small set of restraints that have “such

19    predictable and pernicious anticompetitive effect, and such limited potential for procompetitive
20    benefit,” are deemed unlawful per se. State Oil Co. v. Khan, 522 U.S. 3, 10 (1997). These include

21    horizontal price fixing, division of markets, and certain horizontal group boycotts not at issue here

22    (see infra at 14). See Northern Pac. R. Co. v. United States, 356 U.S. 1, 5 (1958). Vertical

23    agreements, in contrast, cannot be per se unlawful restraints. See Leegin Creative Leather Prods.,

24    Inc. v. PSKS, Inc., 551 U.S. 877, 887, 907 (2007) and Continental T.V., Inc. v. GTE Sylvania, Inc.,

25    433 U.S. 36 (1977) (per se rule inapplicable to vertical restraints); see also In re Musical

26
      3
        See Fed. R. Evid. 801, 802; see also In re Dual-Deck Video Cassette Recorder Antitrust Litig.,
27    1990 WL 126500 (D. Ariz. July 25, 1990) at *3 (“[N]ewspaper articles are by their very nature
      hearsay evidence and are thus inadmissible if offered to prove the truth of the matter asserted, i.e.,
28    in this instance the existence of a conspiracy.”).
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 1    Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1191 (9th Cir. 2015) (certain horizontal

 2    agreements, but not vertical restraints, are subject to the per se rule). Thus, challenges to alleged

 3    exclusive dealing arrangements between firms at different levels of production are evaluated under

 4    the Rule of Reason.

 5           And a vertical restraint is precisely what Plaintiffs allege. As Plaintiffs themselves state,

 6    “venture capital and private equity are services for which all startup companies are consumers.”

 7    PI Motion at 6:16-17. Plaintiffs posit and challenge a purported agreement by Microsoft, an

 8    investor, to invest capital in OpenAI, a consumer of capital, on the condition that Microsoft not

 9    invest in competitors of X.AI. The nonexistent agreement Plaintiffs allege describes a vertical
10    relationship between Microsoft and OpenAI that would be analyzed under the Rule of Reason.

11    The fact that Microsoft and OpenAI are alleged to compete in a separate product market (GenAI)

12    does not turn their vertical investment relationship into a horizontal one. See United States v.

13    Brewbaker, 87 F.4th 563, 575-77 (4th Cir. 2023) (per se rule inapplicable to agreement between

14    bidders where one was also a supplier), cert. denied, 2024 WL 4743079 (Nov. 12, 2024).

15           None of the cases cited in the PI Motion are to the contrary because there is no allegation,

16    let alone evidence, that Microsoft agreed with other horizontal investors to invest only in OpenAI.

17    (Indeed, the only evidence is entirely to the contrary.) In Klor’s Inc. v. Broadway-Hale Stores,

18    Inc., 359 U.S. 207 (1959), the defendants had a horizontal agreement that could support

19    application of the per se rule. Similarly, PLS.Com, LLC v. National Ass’n of Realtors, 32 F. 4th
20    824 (9th Cir. 2022), cert. denied, 143 S. Ct. 567 (2023), found that a group boycott could violate

21    the per se rule where there is “a concerted attempt by a group of competitors at one level [of the

22    market] to protect themselves from competition from non-group members who seek to compete

23    at that level.” Id. at 834 (citation omitted). Finally, In re Musical Instruments, 798 F.3d 1186,

24    involved a “hub-and-spoke” conspiracy with (i) a hub (purchaser), (ii) spokes (competing

25    manufacturers or distributors that enter vertical agreements with the hub), and (iii) the rim of the

26

27

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 1    wheel, which consists of horizontal agreements among the spokes. See id. at 1192. But no similar

 2    horizontal allegation involving Microsoft exists here.4

 3           Finally, Plaintiffs’ PI Motion fails to argue let alone establish that they are likely to prevail

 4    under the Rule of Reason on their Section 1 claim. The Rule of Reason requires courts to conduct

 5    a fact-specific assessment of market power and market structure to assess the restraint’s actual

 6    effect on competition. See Ohio v. American Express Co., 585 U.S. 529, 541 (2018). The first step

 7    of any such inquiry is proving that the challenged restraint has a substantial anticompetitive effect

 8    that harms consumers in a relevant antitrust market. See id. Given the market-intensive analysis

 9    required, preliminary injunctions are rarely granted in Rule of Reason cases. See, e.g., Epic
10    Games, 493 F. Supp. 3d at 836 (discussing necessity to define relevant markets for a Rule of

11    Reason claim and denying request for preliminary relief in part because “[t]he determination of a

12    ‘relevant market’ is a highly factual question.”). Here, neither Plaintiffs’ FAC nor their PI Motion

13    pleads—let alone supports with evidence—any relevant antitrust market for capital investments

14    or the like. Nor have they shown any actual reduction in capital investment. See infra at 19.

15    Plaintiffs’ notion that the dynamic GenAI marketplace is at risk of a funding shortage is baseless

16    and cannot support the extraordinary relief that they seek.

17                  2.      Plaintiffs have no likelihood of succeeding against Microsoft, Mr.
                            Hoffman, or Ms. Templeton on a claim that any of them violated
18                          Clayton Act Section 8.
19           The PI Motion also does not show that Plaintiffs are likely to prevail on their Clayton Act
20    Section 8 claim. Mr. Hoffman’s and Ms. Templeton’s past participations associated with the

21    OpenAI Board were transparent, consistent with Section 8’s rules, and entirely lawful. Plaintiffs’

22    feigned concerns about unspecified information exchanges are unfounded. Further, the interlock

23    issue is now moot.

24
      4
        Other cases Plaintiffs cite declined to apply the per se rule. In Nynex Corp. v. Discon, Inc., 525
25    U.S. 128, 135 (1998), the Supreme Court held that an agreement by a buyer to purchase from one
      supplier rather than another is not a per se unlawful boycott. Similarly, in Northwest Wholesale
26    Stationers, Inc. v. Pacific Stationery & Printing Co., 472 U.S. 284 (1985), a cooperative buying
      agency comprising retailers (horizontal competitors) expelled a member, see id. at 285, but despite
27    the horizontal aspect the Court declined to apply the per se rule because not all concerted refusals
      to deal are predominantly anticompetitive, see id. at 298. Absent such a horizontal aspect (and as
28    in Northwest Wholesale, even sometimes where there is one), the per se rule does not apply.
                                                      - 15 -
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 1            Section 8 of the Clayton Act, 15 U.S.C. § 19, generally prohibits the same person from

 2    serving as a director or officer in any two competing corporations. The statute, however, has several

 3    important limitations or exceptions. First, for the statute to apply, the person must be an officer or a

 4    director of each company—and an “officer” is an “officer elected or chosen by the Board of

 5    Directors.” 15 U.S.C. § 19(a)(4). Second, it does not apply if the competitive sales of either

 6    corporation are less than 2% of that corporation’s total sales. See 15 U.S.C. § 19(a)(2)(B).5 Third,

 7    even if the competitive sales do exceed that threshold, the statute provides a one-year grace period

 8    during which a director or officer can resign without being in violation. See 15 U.S.C. § 19(b).

 9            As to Mr. Hoffman, there are at least two reasons why there was no violation of the statute.
10    First, Microsoft’s first GenAI product (GitHub Copilot) was released in June 2022. See Arenas

11    Decl. ¶ 10. Mr. Hoffman resigned from OpenAI’s Board in March 2023. See Hoffman Decl. ¶ 5.

12    He therefore resigned within the statute’s one-year grace period. See Genevieve Klobuchar Decl.

13    ¶¶ 4-7. Second, Mr. Hoffman resigned well before Microsoft’s sales of competitive products

14    exceeded the 2% statutory threshold. Section 8’s 2% threshold is measured against sales during

15    the corporation’s last completed fiscal year (“FY”). See supra n.5. As of the time Mr. Hoffman

16    resigned from the Board, in March 2023, Microsoft’s last completed FY ended in June 2022.

17    GitHub Copilot did not start generating revenue, however, until the following FY. See Klobuchar

18    Decl. ¶¶ 4, 7. Thus, the statute’s 2% safe harbor applied.

19            As to Ms. Templeton, she was not a Microsoft director or officer at the relevant time (and
20    only became an officer a few weeks ago). See Templeton Decl. ¶¶ 2-3. That fact alone excludes

21    her from Section 8’s application. See 15 U.S.C. § 19(a)(4). Plaintiffs try to evade this statutory

22    requirement by claiming Ms. Templeton was Microsoft’s “agent” on OpenAI’s Board. There is

23    no legal basis for Plaintiffs’ agency theory. Although a handful of cases have suggested that a

24    corporation could be a Section 8 “person” by appointing a natural person as a director to a

25    competitor’s board, no court in this Circuit has adopted this reasoning, no court has ever enjoined

26
      5
        “Competitive sales” means the gross revenues for all products and services sold by one
27    corporation in competition with the other, determined based on annual gross revenues for such
      products and services in that corporation’s last completed fiscal year. See 15 U.S.C. § 19(a)(2)(C).
28    The statute contains several other competitive sales safe harbors.
                                                      - 16 -
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 1    a board “agent,” and the notion makes no sense. But even if it did, that cannot change the fact that

 2    Ms. Templeton never served as a director on OpenAI’s board. See OpenAI Brief at 16 (Ms.

 3    Templeton was an observer, not an OpenAI director). Ms. Templeton had no vote on the OpenAI

 4    Board, and Microsoft never asked her to act or refrain from acting at OpenAI. See PI Motion at

 5    11:5; FAC ¶ 371; Templeton Decl. at ¶¶ 10, 16. That undisputed fact ends the inquiry.6

 6           Plaintiffs concede that no case addresses interlocks by non-voting observers but argue that

 7    the policy of the Clayton Act is to prevent the exchange of competitive information. See PI Motion

 8    at 11. While the statute does serve certain prophylactic purposes, it also creates a bright-line rule

 9    that applies only to interlocks at the officer or director level. And the statutory safe harbors (the
10    one-year grace period and the competitive sales thresholds) demonstrate that Congress wanted to

11    avoid burdening businesses with interlock rules when there is at most a de minimis impact on

12    competition.

13           At any rate, Plaintiffs do not allege any actual, specific information exchanges involving

14    Mr. Hoffman or Ms. Templeton. This is not surprising, because there were none. See Templeton

15    Decl. ¶¶ 11-14; Hoffman Decl. ¶ 7. During the seven months that Ms. Templeton was a board

16    observer, she attended only four meetings and stepped out during all portions involving

17    competitively sensitive information—at OpenAI’s request. See Templeton Decl. ¶ 13. Ms.

18    Templeton never received any of OpenAI’s competitively sensitive information from the OpenAI

19    Board meetings and thus could not share any such information. And Mr. Hoffman has not
20    disclosed to anyone at Microsoft, or anyone else, non-public OpenAI information that he might

21    have obtained before he left the OpenAI Board more than 18 months ago. Likewise, he never

22    disclosed to OpenAI any non-public Microsoft information that he may have obtained from his

23    role as a Microsoft director. See Hoffman Decl. ¶ 7. Moreover, information exchanges untethered

24    to any claim cannot support injunctive relief. See Winter, 555 U.S. at 20 (plaintiff must show a

25
      6
26      The statutory safe harbors would also apply to Ms. Templeton. Microsoft’s FY2023 sales of
      competitive products did not exceed the 2% statutory threshold. See Klobuchar Decl. ¶ 8. And,
27    even if Microsoft’s FY2024 sales of competitive products did exceed the threshold, Ms.
      Templeton resigned from the OpenAI Board in July 2024, which is within the statute’s one-year
28    grace period (which would run from the end of FY2024, i.e., June 30, 2024).
                                                  - 17 -
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 1    likelihood of success on the merits). Because there was no predicate Section 8 violation, Plaintiffs

 2    cannot seek free-floating injunctive relief against unspecified information exchanges.7

 3           Finally, as discussed above, Mr. Hoffman and Ms. Templeton are no longer associated

 4    with the OpenAI Board. There is no allegation or evidence that either Mr. Hoffman or Ms.

 5    Templeton intend to resume their prior respective roles. And Microsoft has relinquished any right

 6    to appoint an observer to the OpenAI Board. See Templeton Decl. ¶ 15. Plaintiffs have made no

 7    showing that there is a cognizable danger of a recurrent violation, which is what must be shown

 8    to secure injunctive relief. See TRW, Inc. v. FTC, 647 F.2d 942, 954 (9th Cir. 1981) (where director

 9    resigned, even though director frequently served on corporate boards in the past and his company
10    had a variety of commercial interests, there was no “cognizable danger of a recurrent violation”;

11    the mere potential existence of a future Section 8 violation does not justify prospective relief).8

12                  3.      Plaintiffs have failed to establish antitrust injury, and Mr. Musk lacks
                            antitrust standing.
13

14           In addition to being unable to establish the elements of their antitrust claims, Plaintiffs also

15    cannot establish injury, let alone the requisite antitrust injury—and Mr. Musk also cannot establish

16    antitrust standing.

17                          (a)     Plaintiffs have not established antitrust injury.
18           Plaintiff X.AI’s vague and nebulous allegations of harm do not establish antitrust injury.

19    Section 16 of the Clayton Act, 15 U.S.C. § 26, which authorizes private parties to obtain injunctive
20    relief “against threatened loss or damage by a violation of the antitrust laws,” requires such injury.

21    See Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 111-112 (1986) (refusing “to read the

22    7
        The cases cited on page 23 of Plaintiffs’ PI Motion were not Clayton Act cases—they were trade
23    secret cases and Cal. Bus. and Prof. Code § 17200 cases, and they restricted information sharing
      after finding a misappropriation. They are thus inapposite. Further, Plaintiffs did not move on their
24    Section 17200 claim. But even if they had so moved, because there was no Clayton Act violation,
      there was no Section 17200 violation, either. And Plaintiffs never identify the supposedly shared
25    information.
      8
        See also Borg-Warner Corp. v. FTC, 746 F.2d 108, 110 (2d Cir. 1984) (FTC did not show a
26    cognizable danger of recurrent violation three years after violations, which were neither flagrant
      nor longstanding, ceased); see generally United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953)
27    (to obtain injunctive relief under Section 8 against discontinued conduct, the moving party must
      show that relief is needed to prevent some cognizable danger of recurrent violation, not a mere
28    possibility which serves to keep the case alive; affirming refusal to award injunctive relief).
                                                      - 18 -
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 1    Clayton Act to authorize a private plaintiff to secure an injunction against a threatened injury for

 2    which he would not be entitled to compensation if the injury actually occurred.”); see also Los

 3    Angeles Mem’l Coliseum Comm’n v. Nat’l Football League, 634 F.2d 1197, 1201 (9th Cir. 1980)

 4    (“The party seeking such relief must demonstrate ‘a significant threat of injury from an impending

 5    violation of the antitrust laws or from a contemporary violation likely to continue or recur.’”)

 6    (citation omitted).

 7           Because it is a prerequisite for any private relief, Plaintiffs must establish antitrust injury

 8    as part of the probability of success analysis to secure a preliminary injunction. See, e.g., Phototron

 9    Corp. v. Eastman Kodak Co., 842 F.2d 95, 98 (5th Cir.) (on preliminary injunction motion, court
10    must decide merits issue of antitrust injury and standing), cert. denied, 486 U.S. 1023 (1988). And

11    that is true even for per se offenses (which Plaintiffs’ claims are not). See Newman v. Universal

12    Pictures, 813 F.2d 1519, 1522–23 (9th Cir. 1987) (although the per se rule “relieves plaintiff of

13    the burden of demonstrating an anticompetitive effect, which is assumed, it does not excuse a

14    plaintiff from showing that his injury was caused by the anticompetitive acts.”), cert. denied, 486

15    U.S. 1059 (1988). See also Atlantic Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 341-42

16    (1990) (rejecting a presumption of antitrust injury in per se cases and requiring a private plaintiff

17    to prove antitrust injury in every case). The rule is the same for claims under Section 8 of the

18    Clayton Act. See generally Bearden v. Ballad Health, 967 F.3d 513, 518 (6th Cir 2020) (Clayton

19    Act’s § 8 prohibition of certain interlocking directorates is not a freestanding provision that is
20    exempt from antitrust law’s usual injury and standing requirements).

21           Here, there is a complete absence of any evidence of harm, let alone antitrust injury (that

22    is, injury to competition itself) from the alleged funding agreement or from the fact of the prior

23    OpenAI Board participation. Although the PI Motion alleges in conclusory fashion that absent an

24    injunction, GenAI startups will lose critical financial support, see id. at 22, Plaintiffs provide no

25    facts to support this “tipping point” allegation. As discussed supra at 9, there is no plausible

26    foreclosure of investment capital. X.AI just raised $6 billion from well-known institutional

27    investors in December 2024 and did not accept any investors that did not participate in earlier

28    fundraising rounds. See supra at 10. Other startups also have recently raised substantial capital,
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 1    and large companies such as Google, Amazon, and Meta do not require third-party capital. See

 2    supra at 7. Further, X.AI’s recent and rapid construction of a large supercomputer (see supra at

 3    7) clearly shows that X.AI itself is a vibrant competitor at no risk of insolvency.

 4           The prior OpenAI Board participation is even further divorced from any alleged harm to

 5    competition. A board membership itself does not, and cannot, affect competition, even if it

 6    somehow facilitates other actions that could. Unlike the government, a private party must show

 7    antitrust injury and standing under Section 8 of the Clayton Act. See supra at 19. And as to the

 8    alleged information sharing, the PI Motion completely fails to specify what information was

 9    shared. Nor does it specify who allegedly used it or to what purpose or effect. Given these failures,
10    the PI Motion unsurprisingly does not explain how the information sharing affected or affects

11    competition itself.

12           Finally, the other alleged harms to X.AI, such as being offered disfavored “compute” terms

13    by Microsoft (FAC ¶ 227), are similarly conclusory and fail to establish competitive harm. They

14    are also entirely unrelated to the Section 1 and Section 8 claims that are the subject of the PI

15    Motion. In short, the PI Motion fails to establish likely harm to competition.

16                          (b)     Mr. Musk lacks antitrust standing.
17           Mr. Musk is not a proper party to bring this private antitrust action. Mr. Musk, as a natural

18    person, does not and is not alleged to compete with Microsoft in any alleged product market and

19    does not himself seek capital to provide GenAI products. Any alleged injury he has sustained
20    under the antitrust laws is as an investor in X.AI, which is derivative of any alleged injury to X.AI.

21           As a result, he does not have standing to sue under the Sherman or Clayton Acts. Parties

22    whose injuries are experienced in another market, even if flowing from that which makes the

23    defendant’s conduct unlawful, do not suffer antitrust injury. See Associated General Contractors

24    of Cal. v. California State Council of Carpenters, 459 U.S. 519, 535 n.31, 539 (1983); FTC v.

25    Qualcomm, Inc., 969 F.3d 974, 992 (9th Cir. 2020) (noting that the prohibited conduct must be

26    directed towards competitors and must be intended to injure competition); Vinci v. Waste Mgmt.,

27    Inc., 80 F.3d 1372, 1375 (9th Cir. 1996) (former shareholder of defunct waste disposal firm lacked

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 1    standing to sue for injuries to the firm; even a sole shareholder lacks antitrust standing), cert.

 2    denied, 520 U.S. 1119 (1997).9

 3          B.      Plaintiffs’ Remaining State Law Claims Do Not Involve Microsoft.
 4            Microsoft, Mr. Hoffman, and Ms. Templeton are not defendants in the two state law claims

 5    (for alleged breach of charitable trust and self-dealing) that are the subject of Plaintiffs’ PI Motion.

 6    As a result, those claims cannot support any preliminary relief as to them. Nevertheless, Microsoft,

 7    Mr. Hoffman, and Ms. Templeton join in OpenAI’s arguments as to why those claims also do not

 8    support Plaintiffs’ request for a preliminary injunction.

 9          C.      Plaintiffs Cannot Show Irreparable Harm.
10            For many of the same reasons that Plaintiffs have not shown any antitrust injury, they also

11    have not shown any imminent risk of irreparable injury.

12            A plaintiff must show that it “is likely to suffer irreparable harm in the absence of

13    preliminary relief.” Winter, 555 U.S. at 20. See also Sampson v. Murray, 415 U.S. 61, 88 (1974)

14    (irreparable harm and inadequacy of legal remedies is basis of injunctive relief). “[D]ubious and

15    speculative” injury is not enough. Colorado River Indian Tribes, 776 F.2d at 849 (“We have long

16    since determined that speculative injury does not constitute irreparable injury.”). Unless a plaintiff

17    is likely to go out of business, the harm is monetary only and cannot support preliminary relief.

18    See Goldie’s Bookstore, Inc. v. Superior Court of State of Cal., 739 F.2d 466, 472 (9th Cir. 1984)

19    (rejecting injury from loss of goodwill and “untold” customers).10 Finally, when a plaintiff sits on
20    its hands and waits to seek preliminary relief, the plaintiff’s claims are stale and do not support a

21    claim of irreparable injury. See Good Meat Project v. GOOD Meat, Inc., 716 F. Supp. 3d 783,

22

23    9
        Although Ms. Zilis also moves for a preliminary injunction, she is not a party to the Section 1 or
24    Section 8 claims and so cannot seek relief for them. But she also lacks antitrust standing for the
      same reasons.
      10
25       See also American Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1473 (9th
      Cir. 1985) (“Without a sufficient showing that these contracts threatened AP’s existence, any loss
26    in revenue due to an antitrust violation is compensable in damages”); Oakland Tribune, Inc. v.
      Chronicle Publ’g. Co., Inc., 762 F.2d 1374, 1377 (9th Cir. 1985) (“No evidence shows that the
27    Tribune verges on bankruptcy”); L.A. Mem’l Coliseum Comm’n, 634 F.2d at 1202 (“Other than
      the threat of lost revenues, the plaintiff did not demonstrate any threat of harm that would have
28    supported a finding of irreparable injury”).
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 1    804-05 (N.D. Cal. 2024) (16-month delay in filing motion indicates a lack of urgency and

 2    undercuts any finding of imminent harm).

 3           Here, Plaintiffs provide no evidence of harm, let alone imminent irreparable harm, for their

 4    Sherman Act Section 1 claim. As discussed above, Plaintiffs only allege in a highly conclusory

 5    fashion that investment capital has been limited. But they provide no actual evidence, and the

 6    evidence, including as to X.AI itself, contradicts Plaintiffs’ claims. Because X.AI is in no danger

 7    of imminently going out of business, the purported harm it seeks to avoid can be remedied by an

 8    award of monetary damages and no preliminary injunctive relief is required. See Goldie’s

 9    Bookstore at 472.
10           Plaintiffs’ Clayton Act Section 8 claim for preliminary relief fares no better. As an initial

11    matter, it is barred because all the facts about the involvement Mr. Hoffman and Ms. Templeton

12    had with the OpenAI Board were known many months, if not over a year ago. See, e.g., Good

13    Meat Project at 804-05; Vineyard House, LLC v. Constellation Brands U.S. Operations, Inc., No.

14    19-CV-01424-YGR, 2020 WL 95638 (N.D. Cal. Jan. 8, 2020) at *1 (delay from May to November

15    2019 weighed against any finding of irreparable harm). Further, the PI Motion’s conclusory

16    allegations about vague information sharing do not even attempt to establish what information

17    was used by whom or for what purpose or to what effect, let alone why any resulting harm would

18    be imminent. This is the sort of quintessential conclusory speculation that does not amount to a

19    showing of likely irreparable injury, especially when Plaintiffs have failed to show an injury to
20    competition itself under the antitrust harm requirement. See Colorado River, 776 F.2d at 849;

21    Ralph Rosenberg Court Reporters, Inc. v. Fazio, 811 F. Supp. 1432, 1443 (D. Haw. 1993)

22    (conclusory allegations about lost customers and goodwill speculative and insufficient).

23          D.      The Balance of Equities Tips Sharply in Microsoft’s Favor and an Injunction
                    Would Harm the Public Interest.
24

25           As part of their PI Motion, Plaintiffs seek to enjoin the transfer to Microsoft of any OpenAI

26    assets, including the intellectual property resulting from the companies’ R&D collaboration. See

27    PI Motion at ii. Because Microsoft incorporates access to OpenAI’s models into software and

28    services used by third parties, the harm to Microsoft and its many customers from a preliminary
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 1    injunction would be immediate and substantial. The balance of equities tips sharply in Defendants’

 2    favor.

 3             Plaintiffs must establish that the balance of equities tips in their favor and that an injunction

 4    is in the public interest. See Epic Games, 493 F. Supp. 3d at 832. The public interest inquiry

 5    primarily addresses the impact on non-parties. “The plaintiffs bear the initial burden of showing

 6    that the injunction is in the public interest.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139 (9th

 7    Cir. 2009). Where the public benefits from novel and innovative business practices involving

 8    technology, courts should refrain from presuming them to be unreasonable absent an elaborate

 9    inquiry into the precise harm they may cause or the business reasons for their use. See Epic Games,
10    493 F. Supp. 3d at 833.

11             Again, the PI Motion makes only vague, hyperbolic, and unsupported allegations

12    regarding these factors. In actuality, however, there would be substantial, immediate harm to

13    Microsoft if Plaintiffs’ requested injunction issues. Microsoft incorporates access to OpenAI’s

14    models in Microsoft’s business in two main ways: (1) Microsoft Azure makes OpenAI’s models

15    available for developers through the Azure OpenAI service; and (2) Microsoft’s various Copilot

16    products incorporate access to OpenAI’s models. See Arenas Decl. ¶ 9. Microsoft regularly

17    receives version updates and new models from OpenAI, as frequently as each month. See id. ¶ 18.

18    If the Court were to grant the requested injunction, Microsoft would no longer receive OpenAI

19    updates or newer model generations and would have limited access to only outdated models,
20    resulting in a severely degraded experience and associated safety problems for developers who

21    rely upon Microsoft’s Azure OpenAI service. See id. ¶¶ 21-22.

22             These harms also would extend to Microsoft’s customers, their users, and the public at

23    large. As described above, because GenAI technology is advancing so rapidly, developers will not

24    use degraded or retired models. See Arenas Decl. ¶ 21. Businesses large and small that utilize

25    Microsoft’s Copilot products would also endure decreased functionality, as well as potential

26    security vulnerabilities and risk of harmful content. See id. ¶ 26. This could be ruinous to many

27    small businesses and would be a massive strain even on large businesses now forced to overhaul

28    their IT services.
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 1    V.    CONCLUSION

 2           Competition in AI is flourishing. Microsoft, OpenAI, X.AI, Google, Meta, Amazon,

 3    Oracle, Cohere, Mistral.AI, Hugging Face, and other well-funded startups are driving a

 4    transformative wave of AI innovation. Against that backdrop, Plaintiffs’ antitrust claims against

 5    Microsoft make no sense. Their evidence-free motion cannot establish a likelihood of success on

 6    their Sherman Act Section 1 Claim—there is no agreement. And there is no basis to establish any

 7    violation of the Clayton Act, let alone one requiring preliminary injunctive relief—there is no

 8    board overlap. The vague, overbroad and disruptive injunction they seek would significantly harm

 9    the millions of developers, enterprises, small businesses, and consumer customers who rely on

10    Microsoft to provide safe, responsible, and powerful GenAI-powered services built using

11    OpenAI’s language models. This PI Motion should be denied.

12

13   DATED: December 13, 2024                        Respectfully Submitted,
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15

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